                      Case 1:20-cv-00517-PB         Document 98        Filed 02/12/24      Page 1 of 3
                                         UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEW HAMPSHIRE


        William Soler Justice Pro se

       Plaintiff(s)

                         V.                                                 Case No. 1:20-CV-00517-PB

        Christopher T. Sununu, et al.
       Defendant(s)

         FILED - USDG
                      T?)^6i?ftijunction to prevent placing civilly committed in SPU



        PLAINTIFF REQUESTS TO REINSERT request for injunction to prevent the state ofNH from
        placing civilly committed non-convicted patients in NHDOC SPU. At the time ofthe R&R Plaintiff
        believed his Conditional Discharge(CD) would expire, however the state of NH has renewed the CD.


        It has become public that NH has no competency restoration. Therefore this issue is capable of
        repetition yet evading review. Plaintiff at anytime in the next 4 years can be returned to SPU,despite
       the lack of any program to restore his competency. The recent charging ofa corrections officer with
       the murder of a patient in SPU clearly shows it is unsafe, inadequate and not therapeutic


        Wherefore plaintiff prays the injunction request be reinstated to this lawsuit..

       Date: 02/12/202
                               («●»}
       Signature




USDCNH-101 (Rev. 2/26/13)
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                                             MEMORANDUM OF LAW

Pursuant to LR 7.1(a)(2), every motion shall be accompanied by a memorandum with citations to supporting authorities or a
statement explaining why a memorandum is unnecessary.


Q have attached a supporting memorandum of law to thismotion.
s Ibelow).
    have NOT attached a memorandum oflaw because none is required (explain your reasoning




                                            CONCURRENCES SOUGHT

Pursuant to LR 7.1(c), any party filing a motion other than a dispositive motion(a dispositive motion seeks an order
disposing ofone or more claims in favor ofthe moving party, for example, a motion to dismiss or a motion for summary
judgment)shall certify to the court that a good faith attempt has been made to obtain concurrence/agreement in the relief
sought. If concurrence is obtained, the moving party shall so note.

I certify the following (choose one):

DaII parties have assented/agreed to thismotion.


□ from
  I made a good faith attempt, but was unable to successfully obtain concurrence/agreement
       all parties.

Si have NOT attempted to obtain concurrence/agreement because it is notrequired.


                                            CERTIFICATE OF SERVICE

I hereby certify that this motion was served on the following persons on the date and in the manner
specified below:

Person(s) served electronically (via ECF):




Person(s) served by mail. Please include
address(es):
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Person(s) served by hand:
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Date of Service:

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